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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,

                       Plaintiff,

 v.                                                     Case No. 24-CR-372-SEH
                                                         FILED UNDER SEAL
 KENDRA SINGLETARY,
                       Defendant.


                                    Motion for Detention

      The United States moves for pretrial detention of Defendant, pursuant to 18
 U.S.C. § 3142(e) and (f).


      1. Eligibility of Case. This case is eligible for a detention order because this case
 involves a (check all that apply):
      ☐ Crime of violence (18 U.S.C. § 3156).
      ☐ Crime of Terrorism (18 U.S.C. § 2332b (g)(5)(B)) with a maximum sentence of
        ten years or more.
      ☐ Crime with a maximum sentence of life imprisonment or death.
      ☒ Drug offense with a maximum sentence of ten years or more.
      ☐ Felony offense and Defendant has two prior convictions in the four categories
        listed above, or two State convictions that would otherwise fall within those
        four categories if federal jurisdiction had existed.
      ☐ Felony offense involving a minor victim other than a crime of violence.
      ☐ Felony offense, other than a crime of violence, involving possession or use of a
        firearm, destructive device (as those terms are defined in 18 U.S.C. § 921), or
        any other dangerous weapon.
      ☐ Felony offense other than a crime of violence that involves a failure to register
        as a Sex Offender (18 U.S.C. § 2250).
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    ☐ Serious risk Defendant will flee.
    ☐ Serious risk of obstruction of justice, including intimidation of a prospective
      witness or juror.

    2. Reason for Detention. The Court should detain Defendant because there are
 no conditions of release which will reasonably assure (check one or both):
    ☒ Defendant’s appearance as required.
    ☒ Safety of any other person and the community.

    3. Rebuttable Presumption. The United States will invoke the rebuttable
 presumption against Defendant under § 3142(e). The presumption applies because
 there is (check all that apply):
    ☐ Probable cause to believe Defendant committed offense within five years of
      release following conviction for a qualifying offense committed while on
      pretrial release.
    ☒ Probable cause to believe Defendant committed drug offense with a maximum
      sentence of ten years or more.
    ☐ Probable cause to believe Defendant committed a violation of one of the
      following offenses: 18 U.S.C. §§ 924(c), 956(a) (conspiracy to murder or
      kidnap), 2332b (act of terrorism), or any offense listed under 2332b(g)(5)(B)
      with a maximum term of imprisonment of ten years or more.
    ☐ Probable cause to believe Defendant committed, attempted to commit, or
      benefitted financially from, an offense under: 18 U.S.C. § 1581 (peonage); 18
      U.S.C. § 1583 (enticement into slavery); 18 U.S.C. § 1584 (sale into
      involuntary servitude); 18 U.S.C. § 1589 (forced labor); 18 U.S.C. § 1590
      (human trafficking); or 18 U.S.C. § 1591 (sex trafficking) with a maximum
      sentence of twenty years or more.
    ☐ Probable cause to believe Defendant committed an offense involving a victim
      under the age of 18 under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1),
      2245, 2251, 2251A, 2252(a)(1) through 2252(a)(3), 2252A(a)(1) through
      2252A(a)(4), 2260, 2421, 2422, 2423, or 2425.




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    Dated this 10th day of December, 2024.


                                      Respectfully submitted,

                                      CLINTON J. JOHNSON
                                      UNITED STATES ATTORNEY


                                      /s/ Mandy M. Mackenzie
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